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B6 Summary (Official Form 6 - Summary) (12/07)


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                                                           United States Bankruptcy Court
                                                                  Northern District of Florida
 In re          Michael Todd Chrisley                                                                      Case No.      12-31216
                                                                                                    ,
                                                                                   Debtor
                                                                                                           Chapter                       7




                                                               SUMMARY OF SCHEDULES
    Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
    B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
    Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
    also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




             NAME OF SCHEDULE                         ATTACHED           NO. OF        ASSETS                 LIABILITIES                 OTHER
                                                       (YES/NO)          SHEETS

A - Real Property                                         Yes             1                 4,211,000.00


B - Personal Property                                     Yes             4                   70,100.00


C - Property Claimed as Exempt                            Yes             1


D - Creditors Holding Secured Claims                      Yes             4                                     14,704,177.59


E - Creditors Holding Unsecured                           Yes             2                                          595,227.96
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                           Yes             10                                    34,150,396.42
    Nonpriority Claims

G - Executory Contracts and                               Yes             1
   Unexpired Leases

H - Codebtors                                             Yes             3


I - Current Income of Individual                          Yes             1                                                                       75,420.47
    Debtor(s)

J - Current Expenditures of Individual                    Yes             2                                                                       78,773.96
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                29


                                                                    Total Assets            4,281,100.00


                                                                                     Total Liabilities          49,449,801.97




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Form 6 - Statistical Summary (12/07)


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                                                           United States Bankruptcy Court
                                                                  Northern District of Florida
 In re           Michael Todd Chrisley                                                                       Case No.   12-31216
                                                                                                         ,
                                                                                       Debtor
                                                                                                             Chapter                      7


              STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
         If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
         a case under chapter 7, 11 or 13, you must report all information requested below.

                  Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                  report any information here.

         This information is for statistical purposes only under 28 U.S.C. § 159.
         Summarize the following types of liabilities, as reported in the Schedules, and total them.


             Type of Liability                                                                  Amount

             Domestic Support Obligations (from Schedule E)

             Taxes and Certain Other Debts Owed to Governmental Units
             (from Schedule E)
             Claims for Death or Personal Injury While Debtor Was Intoxicated
             (from Schedule E) (whether disputed or undisputed)

             Student Loan Obligations (from Schedule F)

             Domestic Support, Separation Agreement, and Divorce Decree
             Obligations Not Reported on Schedule E
             Obligations to Pension or Profit-Sharing, and Other Similar Obligations
             (from Schedule F)

                                                                            TOTAL


             State the following:

             Average Income (from Schedule I, Line 16)


             Average Expenses (from Schedule J, Line 18)

             Current Monthly Income (from Form 22A Line 12; OR,
             Form 22B Line 11; OR, Form 22C Line 20 )


             State the following:
             1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                 column
             2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                 column
             3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                 PRIORITY, IF ANY" column

             4. Total from Schedule F


             5. Total of non-priority unsecured debt (sum of 1, 3, and 4)




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B6A (Official Form 6A) (12/07)


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 In re         Michael Todd Chrisley                                                                         Case No.      12-31216
                                                                                                 ,
                                                                                   Debtor

                                                         SCHEDULE A - REAL PROPERTY
        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."
        Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim." If the debtor is an individual or
if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                                 Husband,    Current Value of
                                                                         Nature of Debtor's       Wife,     Debtor's Interest in            Amount of
               Description and Location of Property                      Interest in Property     Joint, or  Property, without             Secured Claim
                                                                                                Community Deducting  any Secured
                                                                                                            Claim or Exemption

4015 Anson Ave                                                           Fee Simple                  -                   378,000.00               490,810.32
Alpharetta, GA 30022

620 Peachtree Street, Unit 413                                           Fee Simple                  -                    85,000.00               259,781.20
Atlanta, GA

5000 Heatherwood Ct                                                      Fee Simple                  -                  1,900,000.00           6,900,000.00
Roswell, GA 30075

209 Belle Pines Ct                                                       Fee Simple                  -                  1,098,000.00           1,650,000.00
Seneca, SC 29678

2500 Peachtree Rd, Unit 505                                              Fee Simple                  -                   750,000.00            1,180,000.00
Atlanta, GA 30308




                                                                                                 Sub-Total >        4,211,000.00           (Total of this page)

                                                                                                         Total >    4,211,000.00
  0    continuation sheets attached to the Schedule of Real Property
                                                                                                 (Report also on Summary of Schedules)
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B6B (Official Form 6B) (12/07)


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 In re         Michael Todd Chrisley                                                                             Case No.       12-31216
                                                                                                     ,
                                                                                    Debtor

                                                    SCHEDULE B - PERSONAL PROPERTY
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
    Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption

1.    Cash on hand                                        Location: 408 Western Lake Drive, Rosemary Beach                  -                           100.00
                                                          FL 32461

2.    Checking, savings or other financial                Chase                                                             -                              0.00
      accounts, certificates of deposit, or               Checking acct #1802
      shares in banks, savings and loan,                  a/o 8/15/12 -$55
      thrift, building and loan, and
      homestead associations, or credit
      unions, brokerage houses, or
      cooperatives.

3.    Security deposits with public                   X
      utilities, telephone companies,
      landlords, and others.

4.    Household goods and furnishings,                    Per Prenuptial Agreement 5/22/96 and amendments                   -                              0.00
      including audio, video, and                         thereto dated 8/27/04 and 7/22/05, all personal
      computer equipment.                                 property is property of the wife.

5.    Books, pictures and other art                   X
      objects, antiques, stamp, coin,
      record, tape, compact disc, and
      other collections or collectibles.

6.    Wearing apparel.                                    Location: 408 Western Lake Drive, Rosemary Beach                  -                           650.00
                                                          FL 32461

7.    Furs and jewelry.                                   platinum wedding band                                             -                        1,300.00

8.    Firearms and sports, photographic,              X
      and other hobby equipment.

9.    Interests in insurance policies.                    Lincoln Financial Whole Life Insurance Policy                     J                      Unknown
      Name insurance company of each                      Insureds: Debtor and non-debtor spouse
      policy and itemize surrender or                     Owner and Beneficiary: The Michael and Julie
      refund value of each.                               Chrisley Irrevocable Trust

10. Annuities. Itemize and name each                  X
    issuer.




                                                                                                                            Sub-Total >            2,050.00
                                                                                                                (Total of this page)

  3    continuation sheets attached to the Schedule of Personal Property

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 In re         Michael Todd Chrisley                                                                             Case No.       12-31216
                                                                                                     ,
                                                                                    Debtor

                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                           (Continuation Sheet)

                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption

11. Interests in an education IRA as                  X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh, or                X
    other pension or profit sharing
    plans. Give particulars.

13. Stock and interests in incorporated                   Chrisley Asset Management, LLC                                    -                      Unknown
    and unincorporated businesses.                        3340 Peactree Road, Suite 1100
    Itemize.                                              Atlanta, GA 30326
                                                          Debtor owns 10%
                                                          (Lost only contract with Fannie Mae a/o 11/12)

                                                          South Fulton Land Investments, LLC                                -                              0.00
                                                          10945 State Bridge Road, #401-300
                                                          Alpharetta, GA 30022
                                                          50% owner
                                                          (42 acres of land - foreclosed a/o 8/12)

                                                          Select Real Estate Holdings, LLC                                  -                              0.00
                                                          Office Building
                                                          11539 Park Woods Circle, #401
                                                          Alpharetta, GA 30005
                                                          (owns building with negative equity)

                                                          Chrisley and Company, LLC                                         -                              0.00
                                                          3340 Peachtree Road, Ste 1100
                                                          Atlanta, GA
                                                          (50% member)(pass through company for Chrisley
                                                          Asset Management, LLC fees)

14. Interests in partnerships or joint                X
    ventures. Itemize.

15. Government and corporate bonds                    X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                              X

17. Alimony, maintenance, support, and                X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.



                                                                                                                            Sub-Total >                  0.00
                                                                                                                (Total of this page)

Sheet 1 of 3          continuation sheets attached
to the Schedule of Personal Property

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 In re         Michael Todd Chrisley                                                                             Case No.       12-31216
                                                                                                     ,
                                                                                    Debtor

                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                           (Continuation Sheet)

                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption

18. Other liquidated debts owed to debtor X
    including tax refunds. Give particulars.


19. Equitable or future interests, life                   The Chrisley Family Trust                                         -                              0.00
    estates, and rights or powers                         5000 Heatherwood Ct
    exercisable for the benefit of the                    Roswell, GA 30075
    debtor other than those listed in                     (owns 100,000 shares of Brookhaven Bank--stocks
    Schedule A - Real Property.                           have a fair market value of approximately $350,000;
                                                          stocks have been pledged as collateral to State
                                                          Bank)
                                                          (owns 5010 Heatherwood Court - negative equity)

20. Contingent and noncontingent                      X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.

21. Other contingent and unliquidated                 X
    claims of every nature, including
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.
    Give estimated value of each.

22. Patents, copyrights, and other                    X
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other                   X
    general intangibles. Give
    particulars.

24. Customer lists or other compilations              X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                    2010 Landrover Range Rover                                        J                      68,050.00
    other vehicles and accessories.                       Vin #SALMFIE47AA314217
                                                          34,331 miles

26. Boats, motors, and accessories.                   X

27. Aircraft and accessories.                         X




                                                                                                                            Sub-Total >          68,050.00
                                                                                                                (Total of this page)

Sheet 2 of 3          continuation sheets attached
to the Schedule of Personal Property

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 In re         Michael Todd Chrisley                                                                             Case No.        12-31216
                                                                                                     ,
                                                                                    Debtor

                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                           (Continuation Sheet)

                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption

28. Office equipment, furnishings, and                X
    supplies.

29. Machinery, fixtures, equipment, and               X
    supplies used in business.

30. Inventory.                                        X

31. Animals.                                          X

32. Crops - growing or harvested. Give                X
    particulars.

33. Farming equipment and                             X
    implements.

34. Farm supplies, chemicals, and feed.               X

35. Other personal property of any kind                   The Michael and Julie Chrisley Irrevocable Trust                   -                             0.00
    not already listed. Itemize.                          (only asset is the Lincoln Financial whole life
                                                          insurance policy listed in Schedule B #9).
                                                          Beneficiaries of the Trust are the debtor and
                                                          non-debtor spouse's children.




                                                                                                                            Sub-Total >                  0.00
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                                                                                                                                 Total >         70,100.00
Sheet 3 of 3          continuation sheets attached
to the Schedule of Personal Property                                                                                        (Report also on Summary of Schedules)
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 B6C (Official Form 6C) (4/10)


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  In re         Michael Todd Chrisley                                                                                   Case No.           12-31216
                                                                                                            ,
                                                                                         Debtor

                                         SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
 Debtor claims the exemptions to which debtor is entitled under:                                   Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                                   $146,450. (Amount subject to adjustment on 4/1/13, and every three years thereafter
    11 U.S.C. §522(b)(2)                                                                                        with respect to cases commenced on or after the date of adjustment.)
    11 U.S.C. §522(b)(3)

                                                                                Specify Law Providing                          Value of                 Current Value of
                  Description of Property                                          Each Exemption                              Claimed                  Property Without
                                                                                                                              Exemption               Deducting Exemption
Cash on Hand
Location: 408 Western Lake Drive, Rosemary                                Fla. Const. art. X, § 4(a)(2)                                 100.00                            100.00
Beach FL 32461

Checking, Savings, or Other Financial Accounts, Certificates of Deposit
Chase                                             Fla. Const. art. X, § 4(a)(2)                                                             0.00                             0.00
Checking acct #1802
a/o 8/15/12 -$55

Wearing Apparel
Location: 408 Western Lake Drive, Rosemary                                Fla. Const. art. X, § 4(a)(2)                                 650.00                            650.00
Beach FL 32461

Furs and Jewelry
platinum wedding band                                                     Fla. Const. art. X, § 4(a)(2)                                 900.00                         1,300.00
                                                                          Fla. Stat. Ann. § 222.25(4)                                   400.00

Interests in Insurance Policies
Lincoln Financial Whole Life Insurance Policy                             Fla. Stat. Ann. § 222.14                                          0.00                     Unknown
Insureds: Debtor and non-debtor spouse                                    11 U.S.C. § 522(b)(3)(B)                                          0.00
Owner and Beneficiary: The Michael and Julie
Chrisley Irrevocable Trust

Automobiles, Trucks, Trailers, and Other Vehicles
2010 Landrover Range Rover                                                Fla. Stat. Ann. § 222.25(1)                                1,000.00                        68,050.00
Vin #SALMFIE47AA314217                                                    11 U.S.C. § 522(b)(3)(B)                                  25,713.98
34,331 miles                                                              Fla. Stat. Ann. § 222.25(4)                                2,950.00




                                                                                                            Total:                  31,713.98                        70,100.00
    0     continuation sheets attached to Schedule of Property Claimed as Exempt
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 B6D (Official Form 6D) (12/07)


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  In re         Michael Todd Chrisley                                                                                      Case No.      12-31216
                                                                                                              ,
                                                                                             Debtor

                                  SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
 guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
 creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                        C   Husband, Wife, Joint, or Community                         C    U   D     AMOUNT OF
             CREDITOR'S NAME                            O                                                              O    N   I
                                                        D   H         DATE CLAIM WAS INCURRED,                         N    L   S        CLAIM
          AND MAILING ADDRESS                           E                                                              T    I   P       WITHOUT              UNSECURED
           INCLUDING ZIP CODE,                          B   W             NATURE OF LIEN, AND                          I    Q   U                            PORTION, IF
                                                        T   J           DESCRIPTION AND VALUE                          N    U   T
                                                                                                                                       DEDUCTING
          AND ACCOUNT NUMBER                            O                                                              G    I   E       VALUE OF                ANY
            (See instructions above.)
                                                            C                  OF PROPERTY
                                                        R
                                                                             SUBJECT TO LIEN
                                                                                                                       E    D   D     COLLATERAL
                                                                                                                       N    A
                                                                                                                       T    T
Account No. xxxxxx31-10                                         Line of credit                                              E
                                                                                                                            D

Athens First                                                Chrisley Asset Management, LLC
PO Box 1747                                                 3340 Peactree Road, Suite 1100
Athens, GA 30603                                            Atlanta, GA 30326
                                                        X - Debtor owns 10%

                                                                Value $                                Unknown                          491,796.73                 Unknown
Account No.                                                 Line of credit
                                                            Chrisley Asset Management, LLC
Athens First                                                3340 Peactree Road, Suite 1100
PO Box 1747                                                 Atlanta, GA 30326
                                                            Debtor owns 10%
Athens, GA 30603
                                                        X - (Lost only contract with Fannie Mae a/o
                                                            11/12)
                                                                Value $                                Unknown                        3,464,701.15                 Unknown
Account No. Notice only                                         Homeowners Association Dues

Community Management Associates                                 2500 Peachtree Rd, Unit 505
1465 Northside Drive, Ste 128                                   Atlanta, GA 30308
Atlanta, GA 30318
                                                            -

                                                                Value $                               750,000.00                          80,000.00                80,000.00
Account No. xx-xxxx-xxxx-178-9                                  Property Taxes

Fulton County Tax Collector                                     4015 Anson Ave
141 Pryor Street SW                                             Alpharetta, GA 30022
Atlanta, GA 30303
                                                            -

                                                                Value $                               378,000.00                           4,856.00                        0.00
                                                                                                                    Subtotal
 3
_____ continuation sheets attached                                                                                                    4,041,353.88                 80,000.00
                                                                                                           (Total of this page)




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 B6D (Official Form 6D) (12/07) - Cont.




  In re         Michael Todd Chrisley                                                                                      Case No.     12-31216
                                                                                                              ,
                                                                                             Debtor


                                 SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                 (Continuation Sheet)

                                                        C   Husband, Wife, Joint, or Community                         C    U   D     AMOUNT OF
            CREDITOR'S NAME                             O                                                              O    N   I
                                                        D   H             DATE CLAIM WAS INCURRED,                     N    L   S        CLAIM
          AND MAILING ADDRESS                           E                                                              T    I   P       WITHOUT        UNSECURED
                                                            W               NATURE OF LIEN, AND                                                        PORTION, IF
           INCLUDING ZIP CODE,                          B
                                                                           DESCRIPTION AND VALUE
                                                                                                                       I    Q   U
                                                                                                                                       DEDUCTING
                                                        T   J                                                          N    U   T                         ANY
          AND ACCOUNT NUMBER                            O   C                   OF PROPERTY                            G    I   E       VALUE OF
             (See instructions.)                        R
                                                                               SUBJECT TO LIEN                         E    D   D     COLLATERAL
                                                                                                                       N    A
                                                                                                                       T    T
Account No. Notice only                                         Homeowners Association Dues                                 E
                                                                                                                            D

Glenayre Homeowners Assn                                        5000 Heatherwood Ct
4020 Heatherwood Way                                            Roswell, GA 30075
Roswell, GA 30075
                                                            -

                                                                Value $                          1,900,000.00                                 0.00                   0.00
Account No. xxxxxx5008                                          First Mortgage

JP Morgan Chase Bank, N.A.                                      5000 Heatherwood Ct
6716 Grade Lane                                                 Roswell, GA 30075
Bldg 9, Suite 910
                                                            -
Louisville, KY 40213

                                                                Value $                          1,900,000.00                         3,900,000.00       2,000,000.00
Account No. xxxxxxx2110                                         Mortgage

JP Morgan Chase Bank, N.A.                                      209 Belle Pines Ct
6716 Grade Lane                                                 Seneca, SC 29678
Bldg 9, Suite 910
                                                            -
Louisville, KY 40213

                                                                Value $                          1,098,000.00                         1,650,000.00         552,000.00
Account No.                                                     Mortgage

JP Morgan Chase Bank, N.A.                                      620 Peachtree Street, Unit 413
6716 Grade Lane                                                 Atlanta, GA
Bldg 9, Suite 910
                                                            -
Louisville, KY 40213

                                                                Value $                                85,000.00                        258,000.00         173,000.00
Account No. xxxxxx8977                                          Mortgage

JP Morgan Chase Bank, N.A.                                      4015 Anson Ave
6716 Grade Lane                                                 Alpharetta, GA 30022
Bldg 9, Suite 910
                                                            -
Louisville, KY 40213

                                                                Value $                               378,000.00                        335,954.32                   0.00
       1
Sheet _____    3
            of _____  continuation sheets attached to                                                               Subtotal
                                                                                                                                      6,143,954.32       2,725,000.00
Schedule of Creditors Holding Secured Claims                                                               (Total of this page)




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  In re         Michael Todd Chrisley                                                                                      Case No.     12-31216
                                                                                                              ,
                                                                                             Debtor


                                 SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                 (Continuation Sheet)

                                                        C   Husband, Wife, Joint, or Community                         C    U   D     AMOUNT OF
            CREDITOR'S NAME                             O                                                              O    N   I
                                                        D   H             DATE CLAIM WAS INCURRED,                     N    L   S        CLAIM
          AND MAILING ADDRESS                           E                                                              T    I   P       WITHOUT        UNSECURED
                                                            W               NATURE OF LIEN, AND                                                        PORTION, IF
           INCLUDING ZIP CODE,                          B
                                                                           DESCRIPTION AND VALUE
                                                                                                                       I    Q   U
                                                                                                                                       DEDUCTING
                                                        T   J                                                          N    U   T                         ANY
          AND ACCOUNT NUMBER                            O   C                   OF PROPERTY                            G    I   E       VALUE OF
             (See instructions.)                        R
                                                                               SUBJECT TO LIEN                         E    D   D     COLLATERAL
                                                                                                                       N    A
                                                                                                                       T    T
Account No. xxxxxxxxxx1007                                      2010 Landrover Range Rover                                  E
                                                                Vin #SALMFIE47AA314217                                      D

Land Rover Financial                                            34,331 miles
PO Box 78069
Phoenix, AZ 85062
                                                        X -

                                                                Value $                                68,050.00                         37,736.02                   0.00
Account No.                                                     9/30/2008

LNV Corporation                                                 Second Mortgage
c/o McCullough Payne & Haan, LLC
271 17th Street, NW Suite 2200                              4015 Anson Ave
                                                        X J Alpharetta, GA 30022
Atlanta, GA 30363-6213

                                                                Value $                               378,000.00                        150,000.00         112,810.32
Account No.                                                     5/7/2007

Midtown Bank                                                    Second Mortgage
712 W Peachtree Street
Atlanta, GA 30308                                           5000 Heatherwood Ct
                                                        X - Roswell, GA

                                                                Value $                          1,900,000.00                         2,000,000.00       2,000,000.00
Account No.                                                     Third Mortgage

Rialto Capital Advisors, LLC                                    5000 and 5010 Heatherwood Ct
730 NW 107th Avenue #400                                        Roswell, GA
Miami, FL 33172
                                                        X -

                                                                Value $                          1,900,000.00                         1,000,000.00       1,000,000.00
Account No. xxxxxx0761                                          Mortgage

United Community Bank                                       Select Real Estate Holdings, LLC
                                                            Office Building
PO Box 159
                                                            11539 Park Woods Circle, #401
Dawsonville, GA 30534
                                                        X - Alpharetta, GA 30005
                                                            (owns building with negative equity)
                                                                Value $                                     0.00                        229,352.17         229,352.17
       2
Sheet _____    3
            of _____  continuation sheets attached to                                                               Subtotal
                                                                                                                                      3,417,088.19       3,342,162.49
Schedule of Creditors Holding Secured Claims                                                               (Total of this page)




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  In re         Michael Todd Chrisley                                                                                      Case No.      12-31216
                                                                                                              ,
                                                                                             Debtor


                                 SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                 (Continuation Sheet)

                                                        C   Husband, Wife, Joint, or Community                         C    U   D     AMOUNT OF
            CREDITOR'S NAME                             O                                                              O    N   I
                                                        D   H             DATE CLAIM WAS INCURRED,                     N    L   S        CLAIM
          AND MAILING ADDRESS                           E                                                              T    I   P       WITHOUT         UNSECURED
                                                            W               NATURE OF LIEN, AND                                                         PORTION, IF
           INCLUDING ZIP CODE,                          B
                                                                           DESCRIPTION AND VALUE
                                                                                                                       I    Q   U
                                                                                                                                       DEDUCTING
                                                        T   J                                                          N    U   T                          ANY
          AND ACCOUNT NUMBER                            O   C                   OF PROPERTY                            G    I   E       VALUE OF
             (See instructions.)                        R
                                                                               SUBJECT TO LIEN                         E    D   D     COLLATERAL
                                                                                                                       N    A
                                                                                                                       T    T
Account No.                                                     Second Mortgage                                             E
                                                                                                                            D

Wells Fargo                                                     2500 Peachtree Rd, Unit 505
PB 660455                                                       Atlanta, GA 30308
Dallas, TX 75266-0455
                                                            -

                                                                Value $                               750,000.00                       1,100,000.00         350,000.00
Account No. Notice only                                         Homeowners Association Dues

Windsor Over Peachtree COA, Inc.                                620 Peachtree Street, Unit 413
c/o Team Management, LLC                                        Atlanta, GA
PO Box 670177
                                                            J
Marietta, GA 30066

                                                                Value $                                85,000.00                           1,781.20             1,781.20
Account No.




                                                                Value $
Account No.




                                                                Value $
Account No.




                                                                Value $
       3
Sheet _____    3
            of _____  continuation sheets attached to                                                               Subtotal
                                                                                                                                       1,101,781.20         351,781.20
Schedule of Creditors Holding Secured Claims                                                               (Total of this page)
                                                                                                                     Total            14,704,177.59       6,498,943.69
                                                                                           (Report on Summary of Schedules)

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 In re         Michael Todd Chrisley                                                                                              Case No.            12-31216
                                                                                                                     ,
                                                                                               Debtor

                  SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
          A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
    to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
    account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
    continuation sheet for each type of priority and label each with the type of priority.
          The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
    so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
    Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
          If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
    schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
    liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
    column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
    "Disputed." (You may need to place an "X" in more than one of these three columns.)
          Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
    "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
          Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
    listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total
    also on the Statistical Summary of Certain Liabilities and Related Data.
          Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
    priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this
    total also on the Statistical Summary of Certain Liabilities and Related Data.

         Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

    TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
         Domestic support obligations
        Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative
    of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

         Extensions of credit in an involuntary case
        Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a
    trustee or the order for relief. 11 U.S.C. § 507(a)(3).

         Wages, salaries, and commissions
        Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
    representatives up to $11,725* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
    occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

         Contributions to employee benefit plans
       Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
    whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

         Certain farmers and fishermen
         Claims of certain farmers and fishermen, up to $5,775* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

         Deposits by individuals
        Claims of individuals up to $2,600* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not
    delivered or provided. 11 U.S.C. § 507(a)(7).

         Taxes and certain other debts owed to governmental units
         Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

         Commitments to maintain the capital of an insured depository institution
       Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
    Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

         Claims for death or personal injury while debtor was intoxicated
       Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
    another substance. 11 U.S.C. § 507(a)(10).




    * Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                            1         continuation sheets attached
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  In re         Michael Todd Chrisley                                                                                    Case No.      12-31216
                                                                                                            ,
                                                                                             Debtor

                   SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                 (Continuation Sheet)
                                                                                                                     Taxes and Certain Other Debts
                                                                                                                      Owed to Governmental Units
                                                                                                                                  TYPE OF PRIORITY
                                                        C   Husband, Wife, Joint, or Community                       C    U   D
            CREDITOR'S NAME,                            O                                                            O    N   I                      AMOUNT NOT
                                                        D                                                            N    L   S                      ENTITLED TO
          AND MAILING ADDRESS                           E   H         DATE CLAIM WAS INCURRED                        T    I   P      AMOUNT          PRIORITY, IF ANY
           INCLUDING ZIP CODE,                          B   W
                                                                    AND CONSIDERATION FOR CLAIM                      I    Q   U
                                                                                                                                     OF CLAIM
          AND ACCOUNT NUMBER                            T   J                                                        N    U   T                                AMOUNT
                                                        O                                                            G    I   E                             ENTITLED TO
             (See instructions.)                        R   C                                                        E    D   D
                                                                                                                     N    A
                                                                                                                                                               PRIORITY
                                                                                                                     T    T
Account No. Notice only                                                                                                   E
                                                                                                                          D

Fulton County Tax Collector
141 Pryor Street                                                                                                                                     0.00
Atlanta, GA 30303
                                                            -

                                                                                                                                             0.00                    0.00
Account No.                                                     11/29/10

Internal Revenue Service                                        Form 1040 - tax year 2009
PO Box 7346                                                                                                                                          87,911.99
Philadelphia, PA 19101-7346
                                                            -

                                                                                                                                       595,227.96           507,315.97
Account No. Notice only

Oconee County Tax Collector
PO Box 494                                                                                                                                           0.00
Walhalla, SC 29691
                                                            -

                                                                                                                                             0.00                    0.00
Account No. Notice only

Walton County Tax Collector
PO Box 510                                                                                                                                           0.00
Defuniak Springs, FL 32435
                                                            -

                                                                                                                                             0.00                    0.00
Account No.




       1
Sheet _____    1
            of _____  continuation sheets attached to                                                             Subtotal                           87,911.99
Schedule of Creditors Holding Unsecured Priority Claims                                                  (Total of this page)          595,227.96           507,315.97
                                                                                                                     Total                           87,911.99
                                                                                           (Report on Summary of Schedules)            595,227.96         507,315.97

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  In re         Michael Todd Chrisley                                                                                    Case No.         12-31216
                                                                                                               ,
                                                                                             Debtor


               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
 trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
 parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not
 include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
 claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.


      Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                     C    Husband, Wife, Joint, or Community                                C   U   D
                  CREDITOR'S NAME,                                   O                                                                      O   N   I
                  MAILING ADDRESS                                    D    H                                                                 N   L   S
                INCLUDING ZIP CODE,                                  E                DATE CLAIM WAS INCURRED AND                           T   I   P
                                                                          W
               AND ACCOUNT NUMBER
                                                                     B              CONSIDERATION FOR CLAIM. IF CLAIM                       I   Q   U
                                                                                                                                                        AMOUNT OF CLAIM
                                                                     T    J                                                                 N   U   T
                                                                     O                IS SUBJECT TO SETOFF, SO STATE.                       G   I   E
                 (See instructions above.)                           R
                                                                          C
                                                                                                                                            E   D   D
                                                                                                                                            N   A
Account No.                                                                   Credit card debt                                              T   T
                                                                                                                                                E
                                                                                                                                                D

American Express
PO Box 650448                                                             -
Dallas, TX 75265-0448

                                                                                                                                                                       8,288.59
Account No. xx4327                                                            Miscellaneous goods and services

Apex
PO Box 1537                                                               -
Columbus, GA 31902-1537

                                                                                                                                                                         133.45
Account No.                                                                   Credit card debt

Athens First Card Services
PO Box 2181                                                               -
Columbus, GA 31902

                                                                                                                                                                     13,014.78
Account No.                                                                   Potential personal liability for business debt

Auto Express Financing, LLC
10945 State Bridge Road, #401-300                                         -                                                                         X
Alpharetta, GA 30022

                                                                                                                                                                      Unknown

                                                                                                                                        Subtotal
 9
_____ continuation sheets attached                                                                                                                                   21,436.82
                                                                                                                              (Total of this page)




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  In re         Michael Todd Chrisley                                                                              Case No.     12-31216
                                                                                                               ,
                                                                                             Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
                                                                     E
                                                                          W
                                                                                      DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                     B                                                            I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No.                                                                   Potential personal deficiency for property              E
                                                                              located at 143 Seaside Ave, Santa Rosa,                 D

Bank of America                                                               Beach, FL
100 North Tryon Street, 18th floor                                        -
Charlotte, NC 28255

                                                                                                                                                         Unknown
Account No.                                                                   Potential personal deficiency for property
                                                                              located at 1067 Corsica Drive, Pacific
Bank of America                                                               Palisades, CA
100 North Tryon Street, 18th floor                                        -
Charlotte, NC 28255

                                                                                                                                                         Unknown
Account No.                                                                   Legal fees

Bloom Law
977 Ponce de Leon Avenue, NE                                              -
Atlanta, GA 30306

                                                                                                                                                        31,960.98
Account No.                                                                   Contract dispute

Brendan & Ruth Roche
c/o George Hynick, Esquire                                           X -                                                          X X X
5000 N Parkway Calabasas #219
Calabasas, CA 91302
                                                                                                                                                      800,000.00
Account No.                                                                   Legal fees

Bryan M. Knight
Knight Johnson, LLC                                                       -
One Midtown Plaza
1360 Peachtree Street #1201
Atlanta, GA 30309                                                                                                                                       30,000.00

           1
Sheet no. _____     9
                of _____ sheets attached to Schedule of                                                                         Subtotal
                                                                                                                                                      861,960.98
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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  In re         Michael Todd Chrisley                                                                              Case No.     12-31216
                                                                                                               ,
                                                                                             Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
                                                                     E
                                                                          W
                                                                                      DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                     B                                                            I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No.                                                                   Legal fees                                              E
                                                                                                                                      D

Chamberlain Hrdicka and White
191 Peachtree Street NE 34th Floor                                        -
Atlanta, GA 30303

                                                                                                                                                        12,250.00
Account No.                                                                   Potential personal liability for business debt

Chrisley Asset Management, LLC
3340 Peachtree Road, #1100                                                -                                                               X
Atlanta, GA 30326

                                                                                                                                                         Unknown
Account No.                                                                   Notice only

City of Alpharetta
2 S Main Street                                                           -
Alpharetta, GA 30009

                                                                                                                                                                0.00
Account No.                                                                   9/15/2009
                                                                              Potential personal liability for business debt
Embassy National Bank
1817 N Brown Road                                                         -                                                       X X X
Lawrenceville, GA 30043

                                                                                                                                                      278,000.00
Account No. xxxxxxxx3884                                                      Medical services for minor son

Forrest General Hospital
c/o Credit Bureau Central                                                 -
PO Box 1529
1208 West Pine Street
Hattiesburg, MS 39403                                                                                                                                     8,544.68

           2
Sheet no. _____     9
                of _____ sheets attached to Schedule of                                                                         Subtotal
                                                                                                                                                      298,794.68
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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  In re         Michael Todd Chrisley                                                                              Case No.     12-31216
                                                                                                               ,
                                                                                             Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
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               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No.                                                                   Court costs                                             E
                                                                                                                                      D

Fulton County Clerk of Superior Court
Cost Collection                                                           -
136 Pryor Street, SW
Atlanta, GA 30303
                                                                                                                                                          2,627.25
Account No. xx-xxxx-xxxx-080-3                                              2012
                                                                            5010 Heatherwood Ct
Fulton County Tax Collector                                                 Roswell, GA 30075
141 Pryor Street                                                          - Vacant lot in the name of Chrisley Family Trust
Atlanta, GA 30303

                                                                                                                                                          4,733.14
Account No.                                                              1/14/2009
                                                                         Condo Unit #2108 The Gallery
Georgia Federal Credit Union                                             2795 Peachtree Road
6705 Sugarloaf Parkway #100                                          X - Atlanta, GA 30308
Duluth, GA 30097

                                                                                                                                                         Unknown
Account No. Notice only                                                       5010 Heatherwood Ct
                                                                              Roswell, GA 30075
Glenayre Homeowners Assn                                                      Vacant lot in the name of Chrisley Family Trust
4020 Heatherwood Way                                                 X -
Roswell, GA 30075

                                                                                                                                                                0.00
Account No.                                                                   Legal fees

Greenberg Traurig Forum
3290 Northside Pkwy #400                                                  -
Atlanta, GA 30327

                                                                                                                                                        95,573.82

           3
Sheet no. _____     9
                of _____ sheets attached to Schedule of                                                                         Subtotal
                                                                                                                                                      102,934.21
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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  In re         Michael Todd Chrisley                                                                              Case No.     12-31216
                                                                                                               ,
                                                                                             Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
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               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No.                                                                   Potential personal liability for business debt          E
                                                                              Re: Breach of contract - see SOFA #4                    D

HFP Group, LLC
c/o Daniel L. Goodkin, Esquire                                            -                                                       X X X
1880 Century Park East, #1018
Los Angeles, CA 90067
                                                                                                                                                         Unknown
Account No.                                                                   Legal fees

Jason Fisher
Go Fish Enterprises                                                       -
West 9th Street #535
Los Angeles, CA 90015
                                                                                                                                                        22,634.00
Account No.                                                                   Loan

Julie Chrisley
5010 Heatherwood Court                                                    -
Roswell, GA 30075

                                                                                                                                                    4,400,000.00
Account No.                                                                   Potential personal liability for business debt

LKC, LLC
10945 State Bridge Road                                                   -                                                               X
Alpharetta, GA 30022

                                                                                                                                                         Unknown
Account No. xxxxxx6185                                                        Potential Personal Deficiency

LNV
15770 Dallas Pkwy LB65                                                    -
Dallas, TX 75248

                                                                                                                                                         Unknown

           4
Sheet no. _____     9
                of _____ sheets attached to Schedule of                                                                         Subtotal
                                                                                                                                                    4,422,634.00
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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  In re         Michael Todd Chrisley                                                                              Case No.     12-31216
                                                                                                               ,
                                                                                             Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
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               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No. xxxxxx6060                                                        Potential Personal Deficiency                           E
                                                                                                                                      D

LNV
15770 Dallas Pkwy LB65                                                    -
Dallas, TX 75248

                                                                                                                                                      499,225.94
Account No. xxxxxx6136                                                        Potential Personal Deficiency

LNV
15770 Dallas Pkwy LB65                                                    -
Dallas, TX 75248

                                                                                                                                                      100,000.00
Account No. xxxxxx6078                                                        Potential Personal Deficiency

LNV
15770 Dallas Pkwy LB65                                                    -
Dallas, TX 75248

                                                                                                                                                      499,564.59
Account No.                                                                   9/30/2008
                                                                              Judgment
LNV Corporation
c/o McCullough Payne & Haan, LLC                                     X -
271 17th Street, NW Suite 2200
Atlanta, GA 30363-6213
                                                                                                                                                      230,000.00
Account No.                                                                   Potential personal liability for business debt

Lot 46 Watersound, LLC
10945 State Bridge Road, #401-300                                         -                                                               X
Alpharetta, GA 30022

                                                                                                                                                         Unknown

           5
Sheet no. _____     9
                of _____ sheets attached to Schedule of                                                                         Subtotal
                                                                                                                                                    1,328,790.53
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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  In re         Michael Todd Chrisley                                                                              Case No.     12-31216
                                                                                                               ,
                                                                                             Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
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                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No.                                                                   Legal fees                                              E
                                                                                                                                      D

Mann Law Firm
Century Park East #1900                                                   -
Los Angeles, CA 90067

                                                                                                                                                        16,078.87
Account No.                                                                   Potential personal liability for business debt

Mark Stephen Braddock
3340 Peachtree Road, #1100                                                -                                                       X X X
Atlanta, GA 30326

                                                                                                                                                         Unknown
Account No.                                                                   Potential personal liability for business debt

Michael Todd Desgins, LLC
10945 State Bridge Road, #401-300                                         -                                                               X
Alpharetta, GA 30022

                                                                                                                                                         Unknown
Account No. xxxxx1108                                                         Judgment

Midtown Bank
712 W Peachtree Street                                               X -
Atlanta, GA 30308

                                                                                                                                                        15,000.00
Account No. xxxxx1102                                                         Line of Credit for Select Real Estate

Midtown Bank
712 W Peachtree Street                                               X -
Atlanta, GA 30308

                                                                                                                                                      214,167.95

           6
Sheet no. _____     9
                of _____ sheets attached to Schedule of                                                                         Subtotal
                                                                                                                                                      245,246.82
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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  In re         Michael Todd Chrisley                                                                              Case No.     12-31216
                                                                                                               ,
                                                                                             Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
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                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No.                                                                   Fee for review of Settlement Agreement with             E
                                                                              State Bank                                              D

MJ&H
4475 Legendary Drive                                                 X -
Destin, FL 32541

                                                                                                                                                          2,548.38
Account No. x-xxx9620                                                         Miscellaneous business goods and services

National Registered Agents, Inc.
PO Box 12432                                                              -
Newark, NJ 07101-3532

                                                                                                                                                            567.00
Account No. x-xxx9622                                                         Miscellaneous business goods and services

National Registered Agents, Inc.
PO Box 12432                                                              -
Newark, NJ 07101-3532

                                                                                                                                                            567.00
Account No.                                                                   Personal guarantee on two lines of credit

Regions Financial Corp f/k/a Integrity
250 Riverchase Pkwy East                                             X -
Birmingham, AL 35244

                                                                                                                                                    1,000,000.00
Account No.                                                                   Multiple loan defaults-Summary Judgment

RES-GA Buckhead, LLC
c/o Andrea L. Pawlak, Esquire                                        X -
260 Peachtree Street #2700
Atlanta, GA 30303
                                                                                                                                                  23,257,416.00

           7
Sheet no. _____     9
                of _____ sheets attached to Schedule of                                                                         Subtotal
                                                                                                                                                  24,261,098.38
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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  In re         Michael Todd Chrisley                                                                              Case No.     12-31216
                                                                                                               ,
                                                                                             Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
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               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
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                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No.                                                                   7/28/2004                                               E
                                                                              Same loan defaults as RES-GA Buckhead, LLC              D

Rialto Capital Advisors, LLC                                                  listed above
730 NW 107th Avenue #400                                             X -
Miami, FL 33172

                                                                                                                                                         Unknown
Account No.                                                                   Judgment

Rinik Homes, Inc.
c/o Kevin Rinik                                                           -
4190 Iron Duke Court
Duluth, GA 30097
                                                                                                                                                      117,500.00
Account No.                                                                   Potential personal liability for business debt

Select Real Estate Holdings, LLC
10945 State Bridge Road, #401-300                                         -                                                               X
Alpharetta, GA 30022

                                                                                                                                                         Unknown
Account No.                                                                   Potential personal liability for business debt

South Fulton Land Investments, LLC
10945 State Bridge Road, #401-300                                         -                                                               X
Alpharetta, GA 30022

                                                                                                                                                         Unknown
Account No.                                                                   Judgment

State Bank & Trust Company
c/o Jack G. Williams, Esquire                                        X -
502 Harmon Avenue
Panama City, FL 32401
                                                                                                                                                    1,200,000.00

           8
Sheet no. _____     9
                of _____ sheets attached to Schedule of                                                                         Subtotal
                                                                                                                                                    1,317,500.00
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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  In re         Michael Todd Chrisley                                                                                    Case No.      12-31216
                                                                                                                ,
                                                                                             Debtor

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                             C   U   D
                  CREDITOR'S NAME,                                   O                                                                   O   N   I
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                 (See instructions above.)                           R                                                                   E   D   D
                                                                                                                                         N   A
                                                                                                                                         T   T
Account No. xxxxxx1930                                                        5010 Heatherwood Ct                                            E
                                                                              Roswell, GA 30075                                              D

United Community Bank                                                         Vacant lot in the name of Chrisley Family Trust
PO Box 159                                                           X -
Dawsonville, GA 30534

                                                                                                                                                           1,290,000.00
Account No.




Account No.




Account No.




Account No.




           9
Sheet no. _____     9
                of _____ sheets attached to Schedule of                                                                                Subtotal
                                                                                                                                                           1,290,000.00
Creditors Holding Unsecured Nonpriority Claims                                                                               (Total of this page)
                                                                                                                                         Total
                                                                                                               (Report on Summary of Schedules)          34,150,396.42


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 In re             Michael Todd Chrisley                                                                       Case No.        12-31216
                                                                                                     ,
                                                                                   Debtor

                        SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
              Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
              of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
              complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
              state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
              disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                 Check this box if debtor has no executory contracts or unexpired leases.
                                                                                     Description of Contract or Lease and Nature of Debtor's Interest.
                  Name and Mailing Address, Including Zip Code,                           State whether lease is for nonresidential real property.
                      of Other Parties to Lease or Contract                                 State contract number of any government contract.

                    Watercolor Retreat LLC                                              Residential Tenancy Agreement for property
                    c/o Mark Braddock                                                   located at 408 Western Lake Drive
                    12635 Lighthouse Point CT                                           5 year lease commencing 5/2010
                    Alpharetta, GA 30022




      0
                continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases
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 In re          Michael Todd Chrisley                                                                   Case No.       12-31216
                                                                                              ,
                                                                            Debtor

                                                              SCHEDULE H - CODEBTORS
        Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
    by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
    commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
    Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
    any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
    by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
    state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
    disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
        Check this box if debtor has no codebtors.
                 NAME AND ADDRESS OF CODEBTOR                                    NAME AND ADDRESS OF CREDITOR

                 Auto Express Financing, LLC                                     LNV Corporation
                                                                                 c/o McCullough Payne & Haan, LLC
                                                                                 271 17th Street, NW Suite 2200
                                                                                 Atlanta, GA 30363-6213

                 Chrisley Asset Management, LLC                                  Athens First
                                                                                 PO Box 1747
                                                                                 Athens, GA 30603

                 Chrisley Asset Management, LLC                                  LNV Corporation
                                                                                 c/o McCullough Payne & Haan, LLC
                                                                                 271 17th Street, NW Suite 2200
                                                                                 Atlanta, GA 30363-6213

                 Chrisley Asset Management, LLC                                  Midtown Bank
                                                                                 712 W Peachtree Street
                                                                                 Atlanta, GA 30308

                 Chrisley Asset Management, LLC                                  Regions Financial Corp f/k/a Integrity
                                                                                 250 Riverchase Pkwy East
                                                                                 Birmingham, AL 35244

                 Chrisley Asset Management, LLC                                  LNV Corporation
                                                                                 c/o McCullough Payne & Haan, LLC
                                                                                 271 17th Street, NW Suite 2200
                                                                                 Atlanta, GA 30363-6213

                 Chrisley Asset Management, LLC                                  Georgia Federal Credit Union
                                                                                 6705 Sugarloaf Parkway #100
                                                                                 Duluth, GA 30097

                 Chrisley Family Trust                                           Rialto Capital Advisors, LLC
                                                                                 730 NW 107th Avenue #400
                                                                                 Miami, FL 33172

                 Chrisley Family Trust                                           Midtown Bank
                                                                                 712 W Peachtree Street
                                                                                 Atlanta, GA 30308

                 Chrisley Family Trust                                           United Community Bank
                                                                                 PO Box 159
                                                                                 Dawsonville, GA 30534

                 Chrisley Family Trust                                           Rialto Capital Advisors, LLC
                                                                                 730 NW 107th Avenue #400
                                                                                 Miami, FL 33172




      2
              continuation sheets attached to Schedule of Codebtors
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 In re         Michael Todd Chrisley                                                                     Case No.     12-31216
                                                                                                 ,
                                                                                  Debtor

                                                              SCHEDULE H - CODEBTORS
                                                                         (Continuation Sheet)


                  NAME AND ADDRESS OF CODEBTOR                                        NAME AND ADDRESS OF CREDITOR


                  Chrisley Family Trust                                               Glenayre Homeowners Assn
                                                                                      4020 Heatherwood Way
                                                                                      Roswell, GA 30075

                  Chrisley Family Trust                                               RES-GA Buckhead, LLC
                                                                                      c/o Andrea L. Pawlak, Esquire
                                                                                      260 Peachtree Street #2700
                                                                                      Atlanta, GA 30303

                  Julie Marie Chrisley                                                Land Rover Financial
                                                                                      PO Box 78069
                                                                                      Phoenix, AZ 85062

                  LKC, LLC                                                            Athens First
                                                                                      PO Box 1747
                                                                                      Athens, GA 30603

                  LKC, LLC                                                            LNV Corporation
                                                                                      c/o McCullough Payne & Haan, LLC
                                                                                      271 17th Street, NW Suite 2200
                                                                                      Atlanta, GA 30363-6213

                  LKC, LLC                                                            Brendan & Ruth Roche
                                                                                      c/o George Hynick, Esquire
                                                                                      5000 N Parkway Calabasas #219
                                                                                      Calabasas, CA 91302

                  LKC, LLC                                                            RES-GA Buckhead, LLC
                                                                                      c/o Andrea L. Pawlak, Esquire
                                                                                      260 Peachtree Street #2700
                                                                                      Atlanta, GA 30303

                  LKC, LLC                                                            Rialto Capital Advisors, LLC
                                                                                      730 NW 107th Avenue #400
                                                                                      Miami, FL 33172

                  Lot 46 Watersound, LLC                                              State Bank & Trust Company
                                                                                      c/o Jack G. Williams, Esquire
                                                                                      502 Harmon Avenue
                                                                                      Panama City, FL 32401

                  Lot 46 Watersound, LLC                                              MJ&H
                                                                                      4475 Legendary Drive
                                                                                      Destin, FL 32541

                  Michael Todd Designs, LLC                                           LNV Corporation
                                                                                      c/o McCullough Payne & Haan, LLC
                                                                                      271 17th Street, NW Suite 2200
                                                                                      Atlanta, GA 30363-6213




    Sheet     1     of 2       continuation sheets attached to the Schedule of Codebtors

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 In re         Michael Todd Chrisley                                                                     Case No.     12-31216
                                                                                                 ,
                                                                                  Debtor

                                                              SCHEDULE H - CODEBTORS
                                                                         (Continuation Sheet)


                  NAME AND ADDRESS OF CODEBTOR                                        NAME AND ADDRESS OF CREDITOR


                  Michael Todd Designs, LLC                                           Brendan & Ruth Roche
                                                                                      c/o George Hynick, Esquire
                                                                                      5000 N Parkway Calabasas #219
                                                                                      Calabasas, CA 91302

                  Select Real Estate LLC                                              United Community Bank
                                                                                      PO Box 159
                                                                                      Dawsonville, GA 30534

                  Select Real Estate LLC                                              Midtown Bank
                                                                                      712 W Peachtree Street
                                                                                      Atlanta, GA 30308

                  South Fulton Land Investments, LLC                                  RES-GA Buckhead, LLC
                  10945 State Bridge Road, #401-300                                   c/o Andrea L. Pawlak, Esquire
                  Alpharetta, GA 30022                                                260 Peachtree Street #2700
                                                                                      Atlanta, GA 30303

                  South Fulton Land Investments, LLC                                  Rialto Capital Advisors, LLC
                  10945 State Bridge Road, #401-300                                   730 NW 107th Avenue #400
                  Alpharetta, GA 30022                                                Miami, FL 33172




    Sheet     2     of 2       continuation sheets attached to the Schedule of Codebtors

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B6I (Official Form 6I) (12/07)
 In re    Michael Todd Chrisley                                                                         Case No.       12-31216
                                                                         Debtor(s)

                           SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.
Debtor's Marital Status:                                                  DEPENDENTS OF DEBTOR AND SPOUSE
                                        RELATIONSHIP(S):                                             AGE(S):
                                             Daughter                                                    15
      Married                                Son                                                         16
                                             Son                                                         21
                                             Son                                                         6
Employment:                                           DEBTOR                                                   SPOUSE
Occupation                         CEO                                                       Real Estate Executive
Name of Employer                   Chrisley Asset Management, LLC                            Chrisley Asset Mgmt/Select Real Estate
How long employed                  7 years                                                   7 years
Address of Employer                3340 Peachtree Road, Suite 1100                           3340 Peachtree Road, Suite 1100
                                   Atlanta, GA 30326                                         Atlanta, GA 30326
INCOME: (Estimate of average or projected monthly income at time case filed)                                DEBTOR              SPOUSE
1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                          $     10,658.28     $     63,949.69
2. Estimate monthly overtime                                                                           $          0.00     $          0.00

3. SUBTOTAL                                                                                              $       10,658.28        $       63,949.69


4. LESS PAYROLL DEDUCTIONS
     a. Payroll taxes and social security                                                                $              0.00      $             0.00
     b. Insurance                                                                                        $              0.00      $             0.00
     c. Union dues                                                                                       $              0.00      $             0.00
     d. Other (Specify):                                                                                 $              0.00      $             0.00
                                                                                                         $              0.00      $             0.00

5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                        $              0.00      $             0.00

6. TOTAL NET MONTHLY TAKE HOME PAY                                                                       $       10,658.28        $       63,949.69

7. Regular income from operation of business or profession or farm (Attach detailed statement)           $              0.00      $          812.50
8. Income from real property                                                                             $              0.00      $            0.00
9. Interest and dividends                                                                                $              0.00      $            0.00
10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or that of
      dependents listed above                                                                            $              0.00      $             0.00
11. Social security or government assistance
(Specify):                                                                                               $              0.00      $             0.00
                                                                                                         $              0.00      $             0.00
12. Pension or retirement income                                                                         $              0.00      $             0.00
13. Other monthly income
(Specify):                                                                                               $              0.00      $             0.00
                                                                                                         $              0.00      $             0.00

14. SUBTOTAL OF LINES 7 THROUGH 13                                                                       $              0.00      $          812.50

15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                         $       10,658.28        $       64,762.19

16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15)                                          $           75,420.47
                                                                                (Report also on Summary of Schedules and, if applicable, on
                                                                                Statistical Summary of Certain Liabilities and Related Data)
 17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
         Chrisley Asset Management's only contract (with Fannie Mae) is cancelled as on November, 2012.
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B6J (Official Form 6J) (12/07)
 In re    Michael Todd Chrisley                                                               Case No.    12-31216
                                                                  Debtor(s)

         SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
    Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time
case filed. Prorate any payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly
expenses calculated on this form may differ from the deductions from income allowed on Form 22A or 22C.

    Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of
expenditures labeled "Spouse."
1. Rent or home mortgage payment (include lot rented for mobile home)                                       $                 2,500.00
 a. Are real estate taxes included?                            Yes                No X
 b. Is property insurance included?                            Yes                No X
2. Utilities:      a. Electricity and heating fuel                                                          $                 2,597.70
                   b. Water and sewer                                                                       $                     0.00
                   c. Telephone                                                                             $                   620.98
                   d. Other Cable                                                                           $                   400.00
3. Home maintenance (repairs and upkeep)                                                                    $                 4,000.00
4. Food                                                                                                     $                 2,400.00
5. Clothing                                                                                                 $                 2,500.00
6. Laundry and dry cleaning                                                                                 $                 1,200.00
7. Medical and dental expenses                                                                              $                 1,000.00
8. Transportation (not including car payments)                                                              $                 1,000.00
9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                         $                 1,500.00
10. Charitable contributions                                                                                $                 5,000.00
11. Insurance (not deducted from wages or included in home mortgage payments)
                   a. Homeowner's or renter's                                                               $                     0.00
                   b. Life                                                                                  $                   827.25
                   c. Health                                                                                $                     0.00
                   d. Auto                                                                                  $                   887.52
                   e. Other                                                                                 $                     0.00
12. Taxes (not deducted from wages or included in home mortgage payments)
                 (Specify) See Detailed Expense Attachment                                                   $               10,972.75
13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the
plan)
                   a. Auto                                                                                  $                 2,507.06
                   b. Other                                                                                 $                     0.00
                   c. Other                                                                                 $                     0.00
14. Alimony, maintenance, and support paid to others                                                        $                     0.00
15. Payments for support of additional dependents not living at your home                                   $                     0.00
16. Regular expenses from operation of business, profession, or farm (attach detailed statement)            $                     0.00
17. Other See Detailed Expense Attachment                                                                   $                38,860.70

18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,                    $                78,773.96
if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year
following the filing of this document:
      Debtor's monthly expenses are paid out of an account in the name of Chrisley and Company,
      LLC.
20. STATEMENT OF MONTHLY NET INCOME
a. Average monthly income from Line 15 of Schedule I                                                        $                75,420.47
b. Average monthly expenses from Line 18 above                                                              $                78,773.96
c. Monthly net income (a. minus b.)                                                                         $                -3,353.49
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B6J (Official Form 6J) (12/07)
 In re    Michael Todd Chrisley                                          Case No.   12-31216
                                                    Debtor(s)

                  SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                       Detailed Expense Attachment

Specific Tax Expenditures:
IRS personal income tax                                                             $           4,172.75
Real property taxes                                                                 $           3,200.00
IRS delinquent tax payments                                                         $           3,600.00
Total Tax Expenditures                                                              $          10,972.75




Other Expenditures:
Mortgage 4015 Anson                                                                 $           2,742.45
Mortgage 5000 Heatherwood                                                           $          23,561.30
Mortgage 620 Peachtree                                                              $             875.63
Mortgage 209 Belle Pines Ct                                                         $           8,000.00
Pest control                                                                        $             122.82
HOA fees                                                                            $           1,287.50
Lawn and pool maintenance                                                           $           2,271.00
Total Other Expenditures                                                            $          38,860.70
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B6 Declaration (Official Form 6 - Declaration). (12/07)
                                                          United States Bankruptcy Court
                                                                  Northern District of Florida
 In re      Michael Todd Chrisley                                                                          Case No.   12-31216
                                                                                   Debtor(s)               Chapter    7




                                      DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of         31
            sheets, and that they are true and correct to the best of my knowledge, information, and belief.




 Date September 14, 2012                                               Signature   /s/ Michael Todd Chrisley
                                                                                   Michael Todd Chrisley
                                                                                   Debtor

    Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                     18 U.S.C. §§ 152 and 3571.




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B7 (Official Form 7) (04/10)



                                                          United States Bankruptcy Court
                                                                  Northern District of Florida
 In re       Michael Todd Chrisley                                                                             Case No.       12-31216
                                                                                Debtor(s)                      Chapter        7

                                                   STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11
U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer
to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.


                                                                              DEFINITIONS

          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of
the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner,
other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be "in business"
for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the
debtor's primary employment.

          "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or
equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11
U.S.C. § 101.


               1. Income from employment or operation of business

    None       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
               business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
               year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
               calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
               report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                          AMOUNT                            SOURCE
                          $85,266.24                        2012 YTD: Debtor Chrisley Asset Management, LLC
                          $233,537.00                       2011: Debtor Chrisley Asset Management, LLC
                          $1,441,100.00                     2010: Debtor Chrisley Asset Management, LLC

               2. Income other than from employment or operation of business

    None       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
               during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                          AMOUNT                            SOURCE


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              3. Payments to creditors

     None     Complete a. or b., as appropriate, and c.

              a. Individual or joint debtor(s) with primarily consumer debts. List all payments on loans, installment purchases of goods or services,
              and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless the aggregate value
              of all property that constitutes or is affected by such transfer is less than $600. Indicate with an (*) any payments that were made to a
              creditor on account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved
              nonprofit budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by
              either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

    NAME AND ADDRESS                                                    DATES OF                                                       AMOUNT STILL
       OF CREDITOR                                                      PAYMENTS                             AMOUNT PAID                 OWING

     None     b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
              immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such
              transfer is less than $5,850*. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on
              account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit
              budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments and other
              transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
              filed.)

                                                                                                                  AMOUNT
                                                                        DATES OF                                   PAID OR
                                                                        PAYMENTS/                                VALUE OF              AMOUNT STILL
    NAME AND ADDRESS OF CREDITOR                                        TRANSFERS                               TRANSFERS                OWING
    Watercolor Retreat LLC                                              Rental 6/12 7/12 8/12                    $7,500.00                 $0.00
    c/o Mark Braddock
    12635 Lighthouse Point CT
    Alpharetta, GA 30022
    Land Rover Financial                                                6/12 7/12 8/12                            $7,521.18              $37,736.02
    PO Box 78069
    Phoenix, AZ 85062
    JP Morgan Chase Bank, N.A.                                          6/12 7/12 8/12                            $8,227.35            $335,954.32
    6716 Grade Lane
    Bldg 9, Suite 910
    Louisville, KY 40213

     None     c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of
              creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
              spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

    NAME AND ADDRESS OF CREDITOR AND                                                                                                   AMOUNT STILL
         RELATIONSHIP TO DEBTOR                                         DATE OF PAYMENT                      AMOUNT PAID                 OWING

              4. Suits and administrative proceedings, executions, garnishments and attachments

     None     a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of
              this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses
              whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

    CAPTION OF SUIT                                                    NATURE OF         COURT OR AGENCY                         STATUS OR
    AND CASE NUMBER                                                    PROCEEDING        AND LOCATION                            DISPOSITION
    2500 Peachtree Condominium Assn, Inc. v                            Foreclosure       Superior Court of Fulton County, GA     Pending
    Michael Todd Chrisley as Trustee                                                     136 Pryor Street, Rm C-103, Atlanta, GA
    Case #2012cv217855                                                                   30303
    Brendan Roche v Chrisley                                           Breach of         Superior Court                                  Pending
    Case #SC037367                                                     contract          Ventura County, CA



*   Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

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CAPTION OF SUIT                                                        NATURE OF         COURT OR AGENCY                                STATUS OR
AND CASE NUMBER                                                        PROCEEDING        AND LOCATION                                   DISPOSITION
D. Stanley Dixon v Michael Todd Chrisley                               Breach of         Superior Court of Fulton County, GA            Dismissed
Case #2010cv192372                                                     Contract                                                         with Prejudice
                                                                                                                                        9/14/11
HFP Group, LLC v Michael Todd Chrisley                                 Breach of         Superior Court of California                   Settled
Case #BC460607                                                         Contract          Los Angeles County
LNV Corp. v Chrisley Asset Mgmt, et al.                                Breach of         State Court of Gwinnett County, GA             Judgment
Case #11C-00847-4                                                      Contract
Michael T. Chrisley v Wells Fargo Bank, NA                             Quiet title       US District Court for ND of Georgia            Pending
Case #11-cv-01126-CC                                                                     Atlanta Division
Michael Todd Chrisley as Trustee v Bank of                             Breach of         Superior Court of California                   Dismissed
America, NA                                                            Contract re Short Los Angeles County, CA
Case #BC454448                                                         Sale
RES-GA Buckhead, LLC v Michael Todd Chrisley Breach of                                   Superior Court of Fulton County, GA            Order
et al.                                       contract                                                                                   Granting MSJ
Case #2010cv193217                                                                                                                      5/24/12
State Bank & Trust Company v Michael Todd                              Foreclosure       Superior Court of Fulton County, GA            FJ 3/15/2011
Chrisley
Case #2010cv189834
State Bank & Trust Company v Lot 46                                    Breach of         Circuit Court of 1st Judicial Circuit for      FJ 8/7/12
Watersound, LLC et al.                                                 Contract          Walton County, FL
Case #2010CA000847

   None      b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
             preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
             property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
             filed.)

NAME AND ADDRESS OF PERSON FOR WHOSE                                                         DESCRIPTION AND VALUE OF
   BENEFIT PROPERTY WAS SEIZED                                         DATE OF SEIZURE              PROPERTY

             5. Repossessions, foreclosures and returns

   None      List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
             returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12
             or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
             spouses are separated and a joint petition is not filed.)

                                                                 DATE OF REPOSSESSION,
NAME AND ADDRESS OF                                                FORECLOSURE SALE,           DESCRIPTION AND VALUE OF
 CREDITOR OR SELLER                                               TRANSFER OR RETURN                   PROPERTY

             6. Assignments and receiverships

   None      a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
             this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
             joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                               DATE OF
NAME AND ADDRESS OF ASSIGNEE                                   ASSIGNMENT                      TERMS OF ASSIGNMENT OR SETTLEMENT




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                                                                                                                                                          4
   None      b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
             preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
             property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
             filed.)

                                                          NAME AND LOCATION
NAME AND ADDRESS                                                OF COURT                       DATE OF           DESCRIPTION AND VALUE OF
   OF CUSTODIAN                                           CASE TITLE & NUMBER                  ORDER                    PROPERTY
Leland Nicholson                                          Fulton County Superior Copurt                          Chrisley Asset Management
3340 W Peachtree Road                                     Case #2012-cv-219963
Atlanta, GA

             7. Gifts

   None      List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
             and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
             aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
             either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

  NAME AND ADDRESS OF                                     RELATIONSHIP TO                                          DESCRIPTION AND
PERSON OR ORGANIZATION                                     DEBTOR, IF ANY                     DATE OF GIFT          VALUE OF GIFT
Enoch Ministeries Inc.                                    None                                9/15/11              Welsh Pony $60,000
649 Butts Mill Road
Pine Mountain, GA 31822

             8. Losses

   None      List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
             since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
             spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                          DESCRIPTION OF CIRCUMSTANCES AND, IF
DESCRIPTION AND VALUE                                                     LOSS WAS COVERED IN WHOLE OR IN PART
    OF PROPERTY                                                               BY INSURANCE, GIVE PARTICULARS                 DATE OF LOSS
Jewelry $400,000                                                       Insurance Policy                                      2011
                                                                       Per 5/22/1996 Prenuptial Agreement, jewelry
                                                                       belonged to wife , however, insurance policy in
                                                                       Debtor's and non-debtor spouse's name which
                                                                       covered the lost jewelry so check was payable to
                                                                       Debtor and non-debtor spouse. Accordingly, the
                                                                       Debtor signed the check over to the wife.

             9. Payments related to debt counseling or bankruptcy

   None      List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
             concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year immediately
             preceding the commencement of this case.

                                                                          DATE OF PAYMENT,                             AMOUNT OF MONEY
NAME AND ADDRESS                                                       NAME OF PAYOR IF OTHER                      OR DESCRIPTION AND VALUE
    OF PAYEE                                                                 THAN DEBTOR                                  OF PROPERTY
Furr & Cohen                                                           6/15/2012 Julie Hughes (wife)              $25,000.00
2255 Glades Rd.
Suite 337W
Boca Raton, FL 33431




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             10. Other transfers

   None      a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
             transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
             filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
             spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF TRANSFEREE,                                                                DESCRIBE PROPERTY TRANSFERRED
      RELATIONSHIP TO DEBTOR                                           DATE                             AND VALUE RECEIVED
Third Party - Short Sale                                               8/12                    1067 Corsica Drive
                                                                                               Pacific Pallasades, CA 90272
                                                                                               Short sale 8/12

   None      b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
             trust or similar device of which the debtor is a beneficiary.

NAME OF TRUST OR OTHER                                                                         AMOUNT OF MONEY OR DESCRIPTION AND
DEVICE                                                                 DATE(S) OF              VALUE OF PROPERTY OR DEBTOR'S INTEREST
                                                                       TRANSFER(S)             IN PROPERTY

             11. Closed financial accounts

   None      List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
             otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
             financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
             cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must
             include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed,
             unless the spouses are separated and a joint petition is not filed.)

                                                                         TYPE OF ACCOUNT, LAST FOUR
                                                                         DIGITS OF ACCOUNT NUMBER,                    AMOUNT AND DATE OF SALE
NAME AND ADDRESS OF INSTITUTION                                        AND AMOUNT OF FINAL BALANCE                             OR CLOSING
Chase                                                                  4893373608                                     5/18/11-Joint account closed.
PO Box 260180                                                                                                         Julie Hughes new account
Baton Rouge, LA 70826                                                                                                 holder.

             12. Safe deposit boxes

   None      List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
             immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
             depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
             filed.)

                                                      NAMES AND ADDRESSES
NAME AND ADDRESS OF BANK                              OF THOSE WITH ACCESS                      DESCRIPTION                   DATE OF TRANSFER OR
 OR OTHER DEPOSITORY                                  TO BOX OR DEPOSITORY                      OF CONTENTS                    SURRENDER, IF ANY

             13. Setoffs

   None      List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
             commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
             spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF CREDITOR                                           DATE OF SETOFF                                 AMOUNT OF SETOFF

             14. Property held for another person

   None      List all property owned by another person that the debtor holds or controls.




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NAME AND ADDRESS OF OWNER                             DESCRIPTION AND VALUE OF PROPERTY                 LOCATION OF PROPERTY
Julie Chrisley                                        Per Prenuptial Agreement 5/22/96, all             Debtor's Residence
                                                      miscellaneous personal property and
                                                      household goods and furnishings are
                                                      wife's property.

             15. Prior address of debtor

   None      If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
             occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
             address of either spouse.

ADDRESS                                                                NAME USED                                     DATES OF OCCUPANCY
143 Seaside Avenue                                                     Todd Chrisley                                 2008-June 2010
Santa Rosa Beach, FL 32459

             16. Spouses and Former Spouses

   None      If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho,
             Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the
             commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in
             the community property state.

NAME

             17. Environmental Information.

             For the purpose of this question, the following definitions apply:

             "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
             or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to,
             statutes or regulations regulating the cleanup of these substances, wastes, or material.

                   "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly
                   owned or operated by the debtor, including, but not limited to, disposal sites.

                   "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
                   pollutant, or contaminant or similar term under an Environmental Law

   None      a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable
             or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known,
             the Environmental Law:

                                                      NAME AND ADDRESS OF                      DATE OF                      ENVIRONMENTAL
SITE NAME AND ADDRESS                                 GOVERNMENTAL UNIT                        NOTICE                       LAW

   None      b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
             Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                      NAME AND ADDRESS OF                      DATE OF                      ENVIRONMENTAL
SITE NAME AND ADDRESS                                 GOVERNMENTAL UNIT                        NOTICE                       LAW

   None      c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
             the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
             docket number.

NAME AND ADDRESS OF
GOVERNMENTAL UNIT                                                      DOCKET NUMBER                                 STATUS OR DISPOSITION




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             18 . Nature, location and name of business

   None      a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
             ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a
             partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years
             immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities
             within six years immediately preceding the commencement of this case.

             If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
             ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six
             years immediately preceding the commencement of this case.

             If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
             ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six
             years immediately preceding the commencement of this case.

                                LAST FOUR DIGITS OF
                                SOCIAL-SECURITY OR
                                OTHER INDIVIDUAL
                                TAXPAYER-I.D. NO.                                                                                BEGINNING AND
NAME                            (ITIN)/ COMPLETE EIN             ADDRESS                        NATURE OF BUSINESS               ENDING DATES
Auto Express                                                     5000 Heatherwood Court         Automotive Financing             3/9/2007-3/31/2010
Financing, LLC                                                   Roswell, GA 30075
Chrisley and                    9243                             5000 Heatherwood Court         Holding Company                  9/21/07-2012
Company, LLC                                                     Roswell, GA 30075
Chrisley Asset                  1156                             11539 Park Woods Circle        Real Estate Management 11/3/2003-current
Management, LLC                                                  Alpharetta, GA 30005
Jubilee Investments,                                             5000 Heatherwood Court         Never operated                   4/17/2000-7/9/2005
LLC                                                              Roswell, GA 30075
LKC, LLC                                                         5000 Heatherwood Court         Real Estate                      12/28/2001-9/24/10
                                                                 Roswell, GA 30075
Lot 46 Watersound,                                               5000 Heatherwood Court         Single Asset Real Estate 9/12/2006-2/18/2011
LLC                                                              Roswell, GA 30075
Michael Todd                                                     5000 Heatherwood Court         Interior Design                  2/10/2003-1/28/2011
Designs, LLC                                                     Roswell, GA 30075
Select Real Estate              3943                             11539 Park Woods Circle,       Real Estate                      3/22/04-8/19/11
Holdings, LLC                                                    Ste 401
                                                                 Alpharetta, GA 30005
South Fulton Land                                                10945 State Bridge Road        Real Estate                      11/16/06-2/18/11
Investments, LLC                                                 #401-300
                                                                 Alpharetta, GA 30022

   None      b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.


NAME                                                                   ADDRESS


    The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole
proprietor, or self-employed in a trade, profession, or other activity, either full- or part-time.

     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)




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             19. Books, records and financial statements

   None      a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or
             supervised the keeping of books of account and records of the debtor.

NAME AND ADDRESS                                                                                         DATES SERVICES RENDERED
Grimsley and Company, CPA PA                                                                             2008 through present
1708 Metropolitan Blv d
Tallahassee, FL 32308

   None      b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books
             of account and records, or prepared a financial statement of the debtor.

NAME                                            ADDRESS                                                  DATES SERVICES RENDERED
Grimsley and Company, CPA PA                    1708 Metropolitan Blv d                                  2008 to current
                                                Tallahassee, FL 32308

   None      c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records
             of the debtor. If any of the books of account and records are not available, explain.

NAME                                                                                  ADDRESS
Grimsley and Company, CPA PA                                                          1708 Metropolitan Blv d
2008 to current                                                                       Tallahassee, FL 32308

   None      d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was
             issued by the debtor within two years immediately preceding the commencement of this case.

NAME AND ADDRESS                                                                               DATE ISSUED
Unknown



             20. Inventories

   None      a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
             and the dollar amount and basis of each inventory.

                                                                                                         DOLLAR AMOUNT OF INVENTORY
DATE OF INVENTORY                               INVENTORY SUPERVISOR                                     (Specify cost, market or other basis)

   None      b. List the name and address of the person having possession of the records of each of the two inventories reported in a., above.


                                                                               NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY
DATE OF INVENTORY                                                              RECORDS

             21 . Current Partners, Officers, Directors and Shareholders

   None      a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.


NAME AND ADDRESS                                                       NATURE OF INTEREST                            PERCENTAGE OF INTEREST

   None      b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
             controls, or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                                                         NATURE AND PERCENTAGE
NAME AND ADDRESS                                                       TITLE                             OF STOCK OWNERSHIP




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             22 . Former partners, officers, directors and shareholders

   None      a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the
             commencement of this case.

NAME                                                      ADDRESS                                                       DATE OF WITHDRAWAL

   None      b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year
             immediately preceding the commencement of this case.

NAME AND ADDRESS                                                       TITLE                                  DATE OF TERMINATION

             23 . Withdrawals from a partnership or distributions by a corporation

   None      If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation
             in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the
             commencement of this case.

NAME & ADDRESS                                                                                                            AMOUNT OF MONEY
OF RECIPIENT,                                                          DATE AND PURPOSE                                   OR DESCRIPTION AND
RELATIONSHIP TO DEBTOR                                                 OF WITHDRAWAL                                      VALUE OF PROPERTY

             24. Tax Consolidation Group.

   None      If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated
             group for tax purposes of which the debtor has been a member at any time within six years immediately preceding the commencement
             of the case.

NAME OF PARENT CORPORATION                                                                              TAXPAYER IDENTIFICATION NUMBER (EIN)

             25. Pension Funds.

   None      If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as an
             employer, has been responsible for contributing at any time within six years immediately preceding the commencement of the case.

NAME OF PENSION FUND                                                                                    TAXPAYER IDENTIFICATION NUMBER (EIN)


                             DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
and that they are true and correct.


Date September 14, 2012                                                Signature   /s/ Michael Todd Chrisley
                                                                                   Michael Todd Chrisley
                                                                                   Debtor

                 Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




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                                                          United States Bankruptcy Court
                                                                  Northern District of Florida
 In re      Michael Todd Chrisley                                                                         Case No.    12-31216
                                                                                  Debtor(s)               Chapter     7


                              CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION

PART A - Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is secured by
     property of the estate. Attach additional pages if necessary.)

 Property No. 1

 Creditor's Name:                                                                  Describe Property Securing Debt:
 Community Management Associates                                                   2500 Peachtree Rd, Unit 505
                                                                                   Atlanta, GA 30308

 Property will be (check one):
        Surrendered                                                    Retained

 If retaining the property, I intend to (check at least one):
          Redeem the property
          Reaffirm the debt
          Other. Explain                              (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
        Claimed as Exempt                                                             Not claimed as exempt

 Property No. 2

 Creditor's Name:                                                                  Describe Property Securing Debt:
 JP Morgan Chase Bank, N.A.                                                        5000 Heatherwood Ct
                                                                                   Roswell, GA 30075

 Property will be (check one):
        Surrendered                                                    Retained

 If retaining the property, I intend to (check at least one):
          Redeem the property
          Reaffirm the debt
          Other. Explain continue making payments (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
        Claimed as Exempt                                                             Not claimed as exempt




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 Property No. 3

 Creditor's Name:                                                                 Describe Property Securing Debt:
 JP Morgan Chase Bank, N.A.                                                       209 Belle Pines Ct
                                                                                  Seneca, SC 29678

 Property will be (check one):
        Surrendered                                                    Retained

 If retaining the property, I intend to (check at least one):
          Redeem the property
          Reaffirm the debt
          Other. Explain continue making payments (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
        Claimed as Exempt                                                           Not claimed as exempt

 Property No. 4

 Creditor's Name:                                                                 Describe Property Securing Debt:
 JP Morgan Chase Bank, N.A.                                                       620 Peachtree Street, Unit 413
                                                                                  Atlanta, GA

 Property will be (check one):
        Surrendered                                                    Retained

 If retaining the property, I intend to (check at least one):
          Redeem the property
          Reaffirm the debt
          Other. Explain                              (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
        Claimed as Exempt                                                           Not claimed as exempt

 Property No. 5

 Creditor's Name:                                                                 Describe Property Securing Debt:
 JP Morgan Chase Bank, N.A.                                                       4015 Anson Ave
                                                                                  Alpharetta, GA 30022

 Property will be (check one):
        Surrendered                                                    Retained

 If retaining the property, I intend to (check at least one):
          Redeem the property
          Reaffirm the debt
          Other. Explain continue making payments (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
        Claimed as Exempt                                                           Not claimed as exempt




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 Property No. 6

 Creditor's Name:                                                                 Describe Property Securing Debt:
 Land Rover Financial                                                             2010 Landrover Range Rover
                                                                                  Vin #SALMFIE47AA314217
                                                                                  34,331 miles

 Property will be (check one):
        Surrendered                                                    Retained

 If retaining the property, I intend to (check at least one):
          Redeem the property
          Reaffirm the debt
          Other. Explain                              (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
        Claimed as Exempt                                                           Not claimed as exempt

 Property No. 7

 Creditor's Name:                                                                 Describe Property Securing Debt:
 LNV Corporation                                                                  4015 Anson Ave
                                                                                  Alpharetta, GA 30022

 Property will be (check one):
        Surrendered                                                    Retained

 If retaining the property, I intend to (check at least one):
          Redeem the property
          Reaffirm the debt
          Other. Explain continue making payments (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
        Claimed as Exempt                                                           Not claimed as exempt

 Property No. 8

 Creditor's Name:                                                                 Describe Property Securing Debt:
 Midtown Bank                                                                     5000 Heatherwood Ct
                                                                                  Roswell, GA

 Property will be (check one):
        Surrendered                                                    Retained

 If retaining the property, I intend to (check at least one):
          Redeem the property
          Reaffirm the debt
          Other. Explain continue making payments (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
        Claimed as Exempt                                                           Not claimed as exempt




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 Property No. 9

 Creditor's Name:                                                                 Describe Property Securing Debt:
 Rialto Capital Advisors, LLC                                                     5000 and 5010 Heatherwood Ct
                                                                                  Roswell, GA

 Property will be (check one):
        Surrendered                                                    Retained

 If retaining the property, I intend to (check at least one):
          Redeem the property
          Reaffirm the debt
          Other. Explain continue making payments (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
        Claimed as Exempt                                                           Not claimed as exempt

 Property No. 10

 Creditor's Name:                                                                 Describe Property Securing Debt:
 Wells Fargo                                                                      2500 Peachtree Rd, Unit 505
                                                                                  Atlanta, GA 30308

 Property will be (check one):
        Surrendered                                                    Retained

 If retaining the property, I intend to (check at least one):
          Redeem the property
          Reaffirm the debt
          Other. Explain                              (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
        Claimed as Exempt                                                           Not claimed as exempt




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 Property No. 11

 Creditor's Name:                                                                   Describe Property Securing Debt:
 Windsor Over Peachtree COA, Inc.                                                   620 Peachtree Street, Unit 413
                                                                                    Atlanta, GA

 Property will be (check one):
        Surrendered                                                    Retained

 If retaining the property, I intend to (check at least one):
          Redeem the property
          Reaffirm the debt
          Other. Explain                              (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
        Claimed as Exempt                                                             Not claimed as exempt

PART B - Personal property subject to unexpired leases. (All three columns of Part B must be completed for each unexpired lease.
Attach additional pages if necessary.)

 Property No. 1

 Lessor's Name:                                           Describe Leased Property:                     Lease will be Assumed pursuant to 11
 -NONE-                                                                                                 U.S.C. § 365(p)(2):
                                                                                                           YES              NO


I declare under penalty of perjury that the above indicates my intention as to any property of my estate securing a debt and/or
personal property subject to an unexpired lease.


 Date September 14, 2012                                               Signature   /s/ Michael Todd Chrisley
                                                                                   Michael Todd Chrisley
                                                                                   Debtor




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                                                          United States Bankruptcy Court
                                                                  Northern District of Florida
 In re       Michael Todd Chrisley                                                                            Case No.      12-31216
                                                                              Debtor(s)                       Chapter       7

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.    Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor and that
      compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
      be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                 25,000.00
             Prior to the filing of this statement I have received                                        $                 25,000.00
             Balance Due                                                                                  $                       0.00

2.    $     306.00      of the filing fee has been paid.

3.    The source of the compensation paid to me was:
                  Debtor              Other (specify):

4.    The source of compensation to be paid to me is:
                  Debtor              Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

      a.    Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
      b.    Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
      c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
      d.    [Other provisions as needed]


7.    By agreement with the debtor(s), the above-disclosed fee does not include the following service:
              Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
              any other adversary proceeding.
                                                                       CERTIFICATION

      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

Dated:       September 14, 2012                                               /s/ Marc P. Barmat
                                                                              Marc P. Barmat 0022365
                                                                              Furr & Cohen
                                                                              2255 Glades Rd.
                                                                              Suite 337W
                                                                              Boca Raton, FL 33431
                                                                              561-395-0500 Fax: 561-338-7532




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B 201A (Form 201A) (11/11)



                                                 UNITED STATES BANKRUPTCY COURT
                                                  NORTHERN DISTRICT OF FLORIDA
                                      NOTICE TO CONSUMER DEBTOR(S) UNDER § 342(b)
                                               OF THE BANKRUPTCY CODE
          In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1) Describes
briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of
bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney General
may examine all information you supply in connection with a bankruptcy case.

         You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the advice of an
attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees cannot give you legal advice.

         Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to ensure that
you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the court of any changes in
your address. If you are filing a joint case (a single bankruptcy case for two individuals married to each other), and each spouse lists
the same mailing address on the bankruptcy petition, you and your spouse will generally receive a single copy of each notice mailed
from the bankruptcy court in a jointly-addressed envelope, unless you file a statement with the court requesting that each spouse
receive a separate copy of all notices.

1. Services Available from Credit Counseling Agencies
          With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy
relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and
provides assistance in performing a budget analysis. The briefing must be given within 180 days before the bankruptcy filing. The
briefing may be provided individually or in a group (including briefings conducted by telephone or on the Internet) and must be
provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy administrator. The
clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling agencies. Each debtor in a
joint case must complete the briefing.

          In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

           Chapter 7: Liquidation ($245 filing fee, $46 administrative fee, $15 trustee surcharge: Total Fee $306)
         Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors whose
debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted to
proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in some cases,
the United States trustee (or bankruptcy administrator), the trustee, or creditors have the right to file a motion requesting that the court
dismiss your case under § 707(b) of the Code. It is up to the court to decide whether the case should be dismissed.
         Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to take
possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.
         The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it does, the
purpose for which you filed the bankruptcy petition will be defeated.
         Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still be
responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property settlement
obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or aircraft while intoxicated
from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty, or theft, or from a willful and
malicious injury, the bankruptcy court may determine that the debt is not discharged.

       Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,
$46 administrative fee: Total fee $281)
           Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments over


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Form B 201A, Notice to Consumer Debtor(s)                                                                                         Page 2

a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the Bankruptcy
Code.
         Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them, using
your future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your
income and other factors. The court must approve your plan before it can take effect.
         After completing the payments under your plan, your debts are generally discharged except for domestic support obligations;
most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.

           Chapter 11: Reorganization ($1000 filing fee, $46 administrative fee: Total fee $1046)
        Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

           Chapter 12: Family Farmer or Fisherman ($200 filing fee, $46 administrative fee: Total fee $246)
         Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily from a
family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials
          A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the United
States Trustee, the Office of the United States Attorney, and other components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this information is not
filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local rules of the court. The
documents and the deadlines for filing them are listed on Form B200, which is posted at
http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.




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B 201B (Form 201B) (12/09)
                                                          United States Bankruptcy Court
                                                                  Northern District of Florida
 In re     Michael Todd Chrisley                                                                             Case No.       12-31216
                                                                                 Debtor(s)                   Chapter        7

                                 CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                     UNDER § 342(b) OF THE BANKRUPTCY CODE
                                                                       Certification of Debtor
           I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy
Code.
                                                                                                                                  September 14,
Michael Todd Chrisley                                                              X /s/ Michael Todd Chrisley                    2012
Printed Name(s) of Debtor(s)                                                         Signature of Debtor                          Date

Case No. (if known) 12-31216                                                       X
                                                                                       Signature of Joint Debtor (if any)         Date




Instructions: Attach a copy of Form B 201 A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has NOT been made on the
Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor's attorney that the attorney has given the
notice to the debtor. The Declarations made by debtors and bankruptcy petition preparers on page 3 of Form B1 also include this certification.
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                                                                  Northern District of Florida
 In re     Michael Todd Chrisley                                                                   Case No.   12-31216
                                                                                  Debtor(s)        Chapter    7




                                           VERIFICATION OF CREDITOR MATRIX


The above-named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.



Date: September 14, 2012                                               /s/ Michael Todd Chrisley
                                                                       Michael Todd Chrisley
                                                                       Signature of Debtor




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Michael Todd Chrisley                Brendan Roche                           Fulton County Tax Collector
PO Box 611237                        c/o Robert S. Mann, Esquire             141 Pryor Street
Rosemary Beach, FL 32461             5000 N Parkway Calabasas, #219          Atlanta, GA 30303
                                     Calabasas, CA 91302-1400



Marc P. Barmat                       Bryan M. Knight                         Fulton County Tax Collector
Furr & Cohen                         Knight Johnson, LLC                     141 Pryor Street SW
2255 Glades Rd.                      One Midtown Plaza                       Atlanta, GA 30303
Suite 337W                           1360 Peachtree Street #1201
Boca Raton, FL 33431                 Atlanta, GA 30309

American Express                     Chamberlain Hrdicka and White           Georgia Federal Credit Union
PO Box 650448                        191 Peachtree Street NE 34th Floor      6705 Sugarloaf Parkway #100
Dallas, TX 75265-0448                Atlanta, GA 30303                       Duluth, GA 30097




Apex                                 City of Alpharetta                      Glenayre Homeowners Assn
PO Box 1537                          2 S Main Street                         4020 Heatherwood Way
Columbus, GA 31902-1537              Alpharetta, GA 30009                    Roswell, GA 30075




Athens First                         CLMG Corporation                        Greenberg Traurig Forum
PO Box 1747                          7195 Dallas Pkwy                        3290 Northside Pkwy #400
Athens, GA 30603                     Plano, TX 75024                         Atlanta, GA 30327




Athens First Card Services           Community Management Associates         HFP Group, LLC
PO Box 2181                          1465 Northside Drive, Ste 128           c/o Daniel L. Goodkin, Esquire
Columbus, GA 31902                   Atlanta, GA 30318                       1880 Century Park East, #1018
                                                                             Los Angeles, CA 90067



Bank of America                      Embassy National Bank                   Internal Revenue Service
100 North Tryon Street, 18th floor   1817 N Brown Road                       PO Box 7346
Charlotte, NC 28255                  Lawrenceville, GA 30043                 Philadelphia, PA 19101-7346




Bloom Law                            Forrest General Hospital                Jason Fisher
977 Ponce de Leon Avenue, NE         c/o Credit Bureau Central               Go Fish Enterprises
Atlanta, GA 30306                    PO Box 1529                             West 9th Street #535
                                     1208 West Pine Street                   Los Angeles, CA 90015
                                     Hattiesburg, MS 39403

Brendan & Ruth Roche                 Fulton County Clerk of Superior Court   JP Morgan Chase Bank, N.A.
c/o George Hynick, Esquire           Cost Collection                         6716 Grade Lane
5000 N Parkway Calabasas #219        136 Pryor Street, SW                    Bldg 9, Suite 910
Calabasas, CA 91302                  Atlanta, GA 30303                       Louisville, KY 40213
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Julie Chrisley                      MJ&H                                     State Bank & Trust Company
5010 Heatherwood Court              4475 Legendary Drive                     c/o Jack G. Williams, Esquire
Roswell, GA 30075                   Destin, FL 32541                         502 Harmon Avenue
                                                                             Panama City, FL 32401



Land Rover Financial                National Registered Agents, Inc.         Troy R. Covington, Esquire
PO Box 78069                        PO Box 12432                             977 Ponce de Leon Ave, NE
Phoenix, AZ 85062                   Newark, NJ 07101-3532                    Atlanta, GA 30306




LNV                                 Oconee County Tax Collector              United Community Bank
15770 Dallas Pkwy LB65              PO Box 494                               PO Box 159
Dallas, TX 75248                    Walhalla, SC 29691                       Dawsonville, GA 30534




LNV Corporation                     Regions Financial Corp f/k/a Integrity   Walton County Tax Collector
c/o McCullough Payne & Haan, LLC    250 Riverchase Pkwy East                 PO Box 510
271 17th Street, NW Suite 2200      Birmingham, AL 35244                     Defuniak Springs, FL 32435
Atlanta, GA 30363-6213



Mann Law Firm                       RES-GA Buckhead, LLC                     Watercolor Retreat LLC
Century Park East #1900             c/o Andrea L. Pawlak, Esquire            c/o Mark Braddock
Los Angeles, CA 90067               260 Peachtree Street #2700               12635 Lighthouse Point CT
                                    Atlanta, GA 30303                        Alpharetta, GA 30022



Manning & Kass etc LLP              RES-GA Buckhead, LLC                     Wells Fargo
801 S. Figueroa Street 15th Floor   c/o Robert C. Brand, Jr., Esquire        PB 660455
Los Angeles, CA 90017-3012          1111 Bay Avenue, 3rd Floor               Dallas, TX 75266-0455
                                    Columbus, GA 31901



Mark Stephen Braddock               Rialto Capital Advisors, LLC             Windsor Over Peachtree COA, Inc
3340 Peachtree Road, #1100          730 NW 107th Avenue #400                 c/o Team Management, LLC
Atlanta, GA 30326                   Miami, FL 33172                          PO Box 670177
                                                                             Marietta, GA 30066



Mary E. Masi                        Rinik Homes, Inc.
Community Assn Mgr                  c/o Kevin Rinik
2500 Peachtree Road, NW             4190 Iron Duke Court
Atlanta, GA 30305                   Duluth, GA 30097



Midtown Bank                        State Bank
712 W Peachtree Street              PO Box 4748
Atlanta, GA 30308                   Macon, GA 31208
